
FRY V. STATE






NO. 07-07-0479-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



JANUARY 24, 2008

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GEORGE RAMOS LOPEZ, JR.,



Appellant



v.



THE STATE OF TEXAS,



Appellee

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FROM THE 320th DISTRICT COURT OF POTTER COUNTY;



NO. 54951-D; HON. DON R. EMERSON, PRESIDING

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ORDER OF DISMISSAL

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Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

Appellant, George Ramos Lopez, Jr., appeals his conviction for injury to an elderly or disabled person with intent to cause serious bodily injury. &nbsp;The certification of right to appeal executed by the trial court states that this “is a plea bargain case and the defendant has no right to appeal.” &nbsp;This circumstance was brought to the attention of appellant’s counsel, and opportunity was granted him to obtain an amended certification entitling appellant to appeal. &nbsp;No such certification was received within the time we allotted. &nbsp;Having received no certification, we dismiss the appeal per Texas Rule of Appellate Procedure 25.2(d).



Per Curiam



Do not publish.


































